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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


UNITED STATES,                                )       CASE NO. 1:00CR470
                                              )
                       Plaintiff,             )       JUDGE JOHN R. ADAMS
                                              )       Magistrate Judge George J. Limbert
       v.                                     )
                                              )
RICARDO HERNANDEZ,                            )       REPORT AND RECOMMENDATION
                                              )       OF MAGISTRATE JUDGE
                       Defendant.             )


       This matter was referred to the undersigned in order to conduct the appropriate
proceedings, including an initial appearance, detention hearing, preliminary exam and
supervised release hearing, and all matters in accordance with Criminal Rule 32.1, except for
sentencing. On June 14, 2006, the undersigned conducted an initial appearance regarding the
violation and revocation of supervised release and appointed Attorney Joseph Gardner as
Defendant’s counsel. The Government was represented by Assistant United States Attorney
Blas Serrano.
       The violation report prepared by the United States Probation Officer on May 22, 2006,
in the instant matter indicated that Defendant had committed the following Supervised Release
Violations:
       1.       New Law Violation-On February 17, 2006, the offender was arrested by the
                Lorain Police Department, Lorain, Ohio, and charged with two counts of
                Domestic Violence. On March 2, 2006, the offender pled not guilty to one
                charge and no contest to the other. The first charge was dismissed and the
                offender was found guilty on the second charge. The offender was sentenced to
                1 year good behavior and was court ordered to complete counseling.
       2.       Failure to advise Probation Office of new arrest - Per the standard conditions of
                supervision, the offender failed to advise the Probation Office of his contact
                with law enforcement officers within a 72 hour period.
Violation Report at 1. At the hearing and through his counsel, Defendant stipulated to the
violations contained in the Report.
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CONCLUSION AND RECOMMENDATION
       Based upon the Violation Report and Defendant’s stipulation, the undersigned finds that
Defendant has knowingly and voluntarily admitted to the violations contained in Numbers 1
and 2 of the Violation Report. Consequently, the undersigned finds that Defendant has violated
the terms and conditions of supervised release and recommends that the Court find the same.
The parties stipulated to a bond in this case which was approved by the undersigned.



Dated: June 14, 2006
                                                 /s/George J. Limbert
                                             George J. Limbert
                                             United States Magistrate Judge




        ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk
of Court within ten (10) days of service of this notice. Failure to file objections within the
specified time WAIVES the right to appeal the Magistrate Judge’s recommendation. See
Thomas v. Arn, 474 U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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